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 1                                                                 Judge Richard A. Jones
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                         UNITED STATES DISTRICT COURT FOR THE
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 8
 9   UNITED STATES OF AMERICA,                  NO. CR 14-165RAJ
10                        Plaintiff,
11
                    v.                          ORDER GRANTING GOVERNMENT’S
12
                                                MOTION TO FILE UNDER SEAL
     JORDAN TRUXELL,
13
14                       Defendant.
15
16        Before the Court is the Government’s motion to file under seal the Government’s
17 Sentencing Memorandum related to Defendant Jordan Truxell’s sentencing hearing.
18 Having considered the motion and finding good cause,
19        It is hereby ORDERED that the Government’s Motion to Seal (Dkt. #280) is
20 GRANTED. The Government’s sentencing memorandum shall remain under seal.
21        DATED this 3rd day of June, 2016.
22
23
24
                                                  A
                                                  The Honorable Richard A. Jones
25                                                United States District Judge

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28
     ORDER GRANTING GOVERNMENT’S                                         UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     MOTION TO SEAL - 1                                                   SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
